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             UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT
                              Appearance of Counsel Form
Attorneys who wish to participate in an appeal must be properly admitted either to the bar of this court or for the particular
proceeding pursuant to 11th Cir. R. 46-1, et seq. An attorney not yet properly admitted must file an appropriate application. In
addition, all attorneys (except court-appointed counsel) who wish to participate in an appeal must file an appearance form within
fourteen (14) days after notice is mailed by the clerk, or upon filing a motion or brief, whichever occurs first. Application forms and
appearance forms are available at www.ca11.uscourts.gov.

                                                        Please Type or Print
                     23-12155
Court of Appeals No. _______________________
August Dekker, et al                                            vs.
                                                                         Secretary, Florida Agency for Health Care Admin, et al


The Clerk will enter my appearance for these named parties or amici curiae (you must list all parties or amici; use extra
pages if necessary):
American Academy of Pediatrics and Additional National and State Medical and Mental Health Organizations

See Attachment 1 for full list.


These individuals/entities are:

                                   appellant(s)                 petitioner(s)                  intervenor(s)

                                   appellee(s)                  respondent(s)                ✔
                                                                                                amicus curiae

        The following related or similar cases are pending in this court:



✔
        Check here if you are lead counsel.

I hereby certify that I am an active member in good standing of the state bar or the bar of the highest court of the state
(including the District of Columbia) named below, and that my license to practice law in the named state is not currently
lapsed for any reason, including but not limited to retirement, placement in inactive status, failure to pay bar membership
fees or failure to complete continuing education requirements. I understand that I am required to notify the Clerk of this
court within 14 days of any changes in the status of my state bar memberships. See 11th Cir. R. 46-7.


                  State Bar: California                                  State Bar No.: 266488


Signature: /s Cortlin H. Lannin

Name (type or print): Cortlin H. Lannin                                                     Phone: (415) 591-7078

Firm/Govt. Office: Covington & Burling LLP                                         E-mail: clannin@cov.com

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City: San Francisco                                                                State: CA                  Zip: 94105

                                                                                                                       Revised 12/21
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                                      ATTACHMENT 1
                                     (List of Amici Curiae)
 The American Academy of Pediatrics

 The Academic Pediatric Association

 The American Academy of Child and Adolescent Psychiatry

 American Academy of Family Physicians

 The American Academy of Nursing

 The American Association of Physicians for Human Rights, Inc. d/b/a GLMA: Health

   Professionals Advancing LGBTQ+ Equality

 The American College of Obstetricians and Gynecologists

 The American College of Osteopathic Pediatricians

 The American College of Physicians

 The American Medical Association

 The American Pediatric Society

 The American Psychiatric Association

 The )ORULGD Chapter of the American Academy of Pediatrics

 Association of Medical School Pediatric Department Chairs, Inc.

 The Association of American Medical Colleges

 The Endocrine Society

 The National Association of Pediatric Nurse Practitioners

 The Pediatric Endocrine Society

 The Society for Adolescent Health and Medicine

 The Society for Pediatric Research
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21. The Society of Pediatric Nurses

22. The Societies for Pediatric Urology

23. The World Professional Association for Transgender Health
